Case 1:16-cv-02936-CMA-NYW Document 4 Filed 12/01/16 USDC Colorado Page 1 of 8




                                                                          	
	
                                                                           
	
      ',675,&7&2857(/3$62&2817<                                    
 	!
      &2/25$'2                                                   
                                                                 
      &RXUW$GGUHVV67HMRQ6W                         
      &RORUDGR6SULQJV&2     
      3KRQH                                       
                                                                 
                                                                 
      3ODLQWLII.ODQFLH$5RDQH       
                                                                 
      Y                                                         
                                                                 
        'HIHQGDQWV)UDQNLH¶V%DU	*ULOODND)UDQNLH¶V       Ÿ&285786(21/<Ÿ
        ,QFQND)UDQNLH¶V,QF'LVVROYHG0D\      
        )UDQNLH'3DWWRQDQG.DWKOHHQ3DWWRQ
                                                                 &DVH1XPEHU
                                                                 'LYLVLRQ
                                                                 
      $WWRUQH\IRU3ODLQWLII
      $QGUHZ7%UDNH(VT
      $1'5(:7%5$.(3&
      (DVW*LUDUG$YHQXH6XLWH
      (QJOHZRRG&RORUDGR
      3KRQH1XPEHU
      )D[1XPEHU
      (PDLODWEUDNH#JPDLOFRP
      

                              &203/$,17$1'-85<'(0$1'

  
         3ODLQWLII.ODQFLH$5RDQH³0V5RDQH´RU³3ODLQWLII´IRUKHU&RPSODLQWDQG-XU\

  'HPDQGVWDWHV

                                -85,6',&7,219(18($1'3$57,(6

         3ODLQWLIIZDVDWDOOWLPHVUHOHYDQWDFLWL]HQDQGUHVLGHQWRIWKH6WDWHRI&RORUDGRDQGDW

  DOOWLPHVUHOHYDQWZDVZLWKLQWKHIROORZLQJSURWHFWHGJURXSVDSUHJQDQW)HPDOH'HIHQGDQW
                                                       
  



                                                                                              EXHIBIT B
Case 1:16-cv-02936-CMA-NYW Document 4 Filed 12/01/16 USDC Colorado Page 2 of 8




  
  )UDQNLH¶V%DU	*ULOODND)UDQNLH¶V,QFQND)UDQNLH¶V,QF'LVVROYHG0D\

  VRPHWLPHVUHIHUUHGWRDV³)UDQNLH¶V´³'HIHQGDQW)UDQNLH¶V´RU³(PSOR\HU´XSRQLQIRUPDWLRQ

  DQGEHOLHIZDVFRQGXFWLQJEXVLQHVVZLWKLQWKH6WDWHRI&RORUDGR)UDQNLH'3DWWRQDQGRU

  .DWKOHHQ3DWWRQRUERWKLIDVVHWVRI)UDQNLH¶VKDYHEHHQGLVWULEXWHGWRRQHRIERWKRIWKHPLQ

  OLTXLGDWLRQDUHOLDEOHSXUVXDQWWR&56DQGRURWKHUDSSOLFDEOH&RORUDGRVWDWXWHVRU

  ODZVIRUWKHWRWDOYDOXHRIDVVHWVZKLFKPD\KDYHEHHQRUZKLFKPD\EHGLVWULEXWHGWRRQHRU

  ERWKRIWKHP

      7KLVDFWLRQDULVHVXQGHU7LWOH9,,RIWKH&LYLO5LJKWV$FWRI³7LWOH9,,´DV

  DPHQGHGLQFOXGLQJWKH3UHJQDQF\'LVFULPLQDWLRQ$FWRI86&HHWVHTDQG

  &RORUDGRVWDWHODZLQFOXGLQJWKH&RORUDGR$QWL'LVFULPLQDWLRQ$FW³&$'$´

      9HQXHLVSURSHULQFOXGLQJSXUVXDQWWR86&DVWKHDFWVFRPSODLQHGRI

  RFFXUUHGZLWKLQWKHVWDWHRI&RORUDGR

      3ODLQWLIIWLPHO\ILOHGDFKDUJHRIGLVFULPLQDWLRQDQGUHWDOLDWLRQLQRUDERXW-XQH

  ZLWKWKH86(TXDO(PSOR\PHQW2SSRUWXQLW\&RPPLVVLRQ³((2&´

      2Q-XQHWKH((2&LVVXHGLWV'(7(50,1$7,21ILQGLQJWKDW)UDQNLH¶V³IDLOHG

  WRPDLQWDLQHPSOR\PHQWUHFRUGVDVUHTXLUHGE\6HFFRI7LWOH9O,DQGWKH&RPPLVVLRQ
V

  5HFRUGNHHSLQJDQG5HSRUWLQJ5HTXLUHPHQWVDVVHWIRUWKLQ&)5VHFWLRQVO´7KH((2&

  '(7(50,1$7,21IXUWKHUVWDWHG³WKDWWKDWWKHUHLVUHDVRQDEOHFDXVHWREHOLHYH&KDUJLQJ3DUW\

  ZDVGHPRWHGDVVLJQHGOHVVGHVLUDEOHGXWLHVKDUDVVHGLQWLPLGDWHGDQGUHWDOLDWHGDJDLQVWZKLFK

  OHGWRKHUFRQVWUXFWLYHGLVFKDUJH´


                                                   
  
Case 1:16-cv-02936-CMA-NYW Document 4 Filed 12/01/16 USDC Colorado Page 3 of 8




  
        3ODLQWLIIUHFHLYHGD1RWLFHRI5LJKWWR6XHGDWHG$XJXVWDQGFRPPHQFHGWKLV

  DFWLRQZLWKLQQLQHW\GD\VRIUHFHLSWRIWKHQRWLFH

        ,QMXQFWLYHUHOLHILVVRXJKWSXUVXDQWWRDSSOLFDEOHODZ

        &RVWVDQGDWWRUQH\¶VIHHVPD\EHDZDUGHGSXUVXDQWWRDSSOLFDEOHVWDWXWHVDQGUHJXODWLRQV

                                      *(1(5$/67$7(0(17

        0V5RDQHZDVDWUHOHYDQWWLPHVDQHPSOR\HHRI)5$1.,(¶6ORFDWHGLQ&RORUDGR

  6SULQJV&RORUDGR

     0V5RDQHZDVHPSOR\HGE\)UDQNLH¶VRQDIXOOWLPHEDVLVDVD0DQDJHUDQG%DUWHQGHUDW

  WKHWLPHWKDWVKHLQIRUPHG)UDQNLH¶VWKDWVKHZDVSUHJQDQW

       1RWORQJDIWHULQIRUPLQJPDQDJHPHQWWKDWVKHZDVSUHJQDQW0V5RDQHVWDUWHGEHLQJ

  WUHDWHGLQDQDGYHUVHPDQQHUEHFDXVHRIKHUSUHJQDQF\7KH'HIHQGDQW)UDQNLH¶VEHJDQ

  GLVFULPLQDWLQJDQGUHWDOLDWLQJDJDLQVW0V5RDQHDIWHUWKH'HIHQGDQW)UDQNLH¶VOHDUQHGWKDW0V

  5RDQHZDVSUHJQDQW7KHGLVFULPLQDWLRQDQGUHWDOLDWLRQLQFOXGLQJKDUDVVPHQWRI0V5RDQH

  GHPRWLQJKHUDQGUHGXFLQJKHUZRUNKRXUV$OVR0V5RDQHZDVJLYHQOHVVIDYRUDEOHZRUN

  VKLIWVZKLFKQHJDWLYHO\DIIHFWHGWKHSRUWLRQRIKHUZDJHVJHQHUDWHGE\WLSV

       0V5RDQHZDVLQDSSURSULDWHO\FRQVWUXFWLYHO\WHUPLQDWHGE\)UDQNLH¶VIURPKHUSRVLWLRQ

  RQRUDERXW-XO\

       8SRQLQIRUPDWLRQDQGEHOLHIWKHGLVFULPLQDWLRQDQGUHWDOLDWLRQZDVFRPRWLYDWHGE\

  3ODLQWLII¶VSUHJQDQF\

  

  
                                                     
  
Case 1:16-cv-02936-CMA-NYW Document 4 Filed 12/01/16 USDC Colorado Page 4 of 8




  
                                 ),567&/$,0)255(/,()
                                *HQGHU3UHJQDQF\'LVFULPLQDWLRQ
  
     3ODLQWLIILQFRUSRUDWHVKHUHLQE\WKLVUHIHUHQFHDOORWKHUSDUDJUDSKVFRQWDLQHGLQWKLV

  &RPSODLQWDQG-XU\'HPDQGYHUEDWLP

     $WDOOWLPHVUHOHYDQW3ODLQWLIIZDVDPHPEHURIDSURWHFWHGFODVVDVDSUHJQDQWIHPDOH

     $WUHOHYDQWWLPHV3ODLQWLIISHUIRUPHGKHUMREGXWLHVDVERWKD0DQDJHUDQG%DUWHQGHU

  HPSOR\HGDW)UDQNLH¶VLQDFRPSHWHQWHIILFLHQWDQGVDWLVIDFWRU\PDQQHU

     'XHWRKHUVH[IHPDOHSUHJQDQF\DQGKHUEHFRPLQJSUHJQDQWDQGLQUHWDOLDWLRQIRU

  HQJDJLQJLQDSURWHFWHGDFWLYLW\0V5RDQHZDVGHPRWHGDVVLJQHGOHVVGHVLUDEOHGXWLHVVKHZDV

  KDUDVVHGLQWLPLGDWHGDQGFRQVWUXFWLYHO\GLVFKDUJHGLQYLRODWLRQRI7LWOH9,,7KHGHWHUPLQLQJ

  DQGPRWLYDWLQJDQGRUFRPRWLYDWLQJIDFWRULQWKH'HIHQGDQW)UDQNLH¶V¶VDGYHUVHGLVFULPLQDWRU\

  WUHDWPHQWDQGUHWDOLDWLRQDJDLQVW3ODLQWLIIZDVKHUSUHJQDQF\LQYLRODWLRQRI7LWOH9,,DQGWKH

  &$'$

     0V5RDQHKDV'LUHFW(YLGHQFHRIGLVFULPLQDWLRQDQGUHWDOLDWLRQDQGLQWHQGVWRXWLOL]H

  WKH'LUHFW(YLGHQFHPHWKRGRISURRILQDGGLWLRQWRRWKHUPHWKRGV7KHGLUHFWHYLGHQFHLQFOXGHV

         D     $VD0DQDJHUDQGD%DUWHQGHU0V5RDQHZDVSDLGDQKRXUO\ZDJHSOXVWLSVDQG

         DVVLJQHGWRZRUNRQWKHEXVLHUGD\VRIWKHZHHNSULRUWREHFRPLQJSUHJQDQW,Q0D\RI

         DIWHUVKHLQIRUPHGKHU*HQHUDO0DQDJHU3DP0D\OWKDWVKHZDVSUHJQDQW0U

         )UDQNLH3DWWRQWKHRZQHURI)UDQNLH¶VPHWZLWK0V5RDQHDQGGHPRWHGKHUIURP

         PDQDJHPHQWEHFDXVHRIKHUEHLQJSUHJQDQWDQGWROGKHUWKDWVKHZRXOGQRORQJHUEH

         FDSDEOHRIPDQDJLQJWKHEDUEHFDXVHRIKHUSUHJQDQF\

                                                   
  
Case 1:16-cv-02936-CMA-NYW Document 4 Filed 12/01/16 USDC Colorado Page 5 of 8




  
         E    7KHQH[WGD\*HQHUDO0DQDJHU3DP0D\OWROG0V5RDQHWKDW0V5RDQHZDV

         UHTXLUHGWRFRQWLQXHWRSHUIRUPDOORIWKHGXWLHVRID0DQDJHUZLWKRXWWKHWLWOHRUSD\

         $IWHU0V5RDQHLQIRUPHG3DP0D\OWKDWVKHZDVYHU\XSVHWDERXWEHLQJGHPRWHGWRD

         VHUYHUDQGWKDWVKHWKRXJKWLWZDVXQIDLUWRFRQWLQXHSHUIRUPLQJPDQDJHPHQWIXQFWLRQV

         ZLWKRXWWKHWLWOHRUSD\3DP0D\OWROG0V5RDQHWKDWVKHZRXOGPDNHKHUOLIHDOLYLQJ

         KHOOZKLFKFRQVWLWXWHVDGYHUVHUHWDOLDWRU\DFWLRQ

         F    2QRUDERXW-XQH0V5RDQHZHQWRXWVLGHGXULQJKHUWHQPLQXWHEUHDN

         DVGLGRWKHUFRZRUNHUV0V5RDQHZDVZULWWHQXSE\)UDQNLH3DWWRQIRUWDNLQJWKHWHQ

         PLQXWHEUHDNWKDWVKHZDVHQWLWOHGWRZKLOHRWKHUQRQSUHJQDQWFRZRUNHUVZHUHQRW

         ZULWWHQXSIRUGRLQJWKHVDPHWKLQJ

         G    $IWHU-XQHWKHRZQHU)UDQNLH3DWWRQUHPRYHG0V5RDQHIURPKHU

         UHJXODUVKLIWVDQGRQO\SHUPLWWHGKHUWRVHUYHWDEOHVRQ6XQGD\0RQGD\DQG7XHVGD\

         DQGSURKLELWHGKHUIURPEDUWHQGLQJ

         H    2Q-XQH0U3DWWRQFDOOHG0V5RDQHLQWRKLVRIILFHDQGWROGKHUWKDW

         VKHZDVVWDUWLQJDQHZIDPLO\DQGVKRXOGXOWLPDWHO\UHVLJQ0U3DWWRQVWDWHGWKDWEHFDXVH

         VKHZDVSUHJQDQWVKHVKRXOGQRWEHZRUNLQJLQDEDUODWHDWQLJKW+HVWDWHGWKDWEHFDXVH

         0V5RDQHZDVSUHJQDQWVKHFDQQRWSHUIRUPKHUMREDVKHVDZILW

         I    0V5RDQHZDVVXEMHFWHGWRIDOVHDFFXVDWLRQVDWWKHZRUNSODFH

     1RQ3UHJQDQWDQG0DOHHPSOR\HHVRI'HIHQGDQW)UDQNLH¶VKROGLQJPDQDJHPHQW

  SRVLWLRQVZHUHQRWVXEMHFWHGWRWKHVDPHWUHDWPHQWDV0V5RDQH

     'XHWRWKHSUHJQDQF\EDVHGGLVFULPLQDWLRQDQGUHWDOLDWLRQSHUSHWUDWHGDJDLQVW0V5RDQH
                                                   
  
Case 1:16-cv-02936-CMA-NYW Document 4 Filed 12/01/16 USDC Colorado Page 6 of 8




  
  VKHZDVZURQJIXOO\GHPRWHGQRWSHUPLWWHGWRHDUQWKHLQFRPHZKLFKVKHKDGEHHQHDUQLQJDQG

  ZDVRWKHUZLVHFRQVWUXFWLYHO\GLVFKDUJHGIURPKHUHPSOR\PHQWZLWK)UDQNLH¶V

     7KHDFWVRIWKH'HIHQGDQW)UDQNLH¶VZHUHLQZLOOIXOZDQWRQDQGRUUHFNOHVVGLVUHJDUGRI

  WKHULJKWVRUVHQVLELOLWLHVRI3ODLQWLIIFDXVLQJKDUPGDPDJHDQGJUHDWVXIIHULQJE\3ODLQWLII,Q

  DGGLWLRQ3ODLQWLIIKDVVXIIHUHGORVWZDJHVORVWEHQHILWVDQGRWKHUSHUTXLVLWHVRIHPSOR\PHQW

     3ODLQWLIIVHHNVWRUHFRYHUFRPSHQVDWRU\DQGSXQLWLYHGDPDJHVDVODZIXOO\UHFRYHUDEOH

  3ODLQWLIIDOVRVHHNVWRUHFRYHUSDVWDQGIXWXUHSHFXQLDU\ORVVHVEDFNSD\DQGIURQWSD\DQGRWKHU

  DZDUGDEOHOHJDODQGHTXLWDEOHUHOLHILQMXQFWLYHUHOLHILQFOXGLQJDVVHWIRUWKLQWKHSUD\HUIRU

  UHOLHIEHORZHPRWLRQDOSDLQVXIIHULQJLQFRQYHQLHQFHPHQWDODQJXLVKORVVRIHQMR\PHQWRIOLIH

  DQGRWKHUQRQSHFXQLDU\ORVVHVLQDGGLWLRQWROLTXLGDWHGSXQLWLYHGDPDJHVLQFOXGLQJDVVHWIRUWK

  LQWKLV&RPSODLQW3ODLQWLIILVDOVRVHHNLQJDWWRUQH\¶VIHHVFRVWVH[SHUWZLWQHVVHVDQGDOORWKHU

  FRPSHQVDWLRQDVLVODZIXOO\UHFRYHUDEOH

                                 6(&21'&/$,0)255(/,()

                                           5(7$/,$7,21

     3ODLQWLIILQFRUSRUDWHVKHUHLQE\WKLVUHIHUHQFHDOORWKHUSDUDJUDSKVFRQWDLQHGLQWKLV

  &RPSODLQWDQG-XU\'HPDQGYHUEDWLP

     0V5RDQHZDVVXEMHFWHGWRUHWDOLDWLRQEHFDXVHVKHREMHFWHGWRWKHSUHJQDQF\EDVHG

  GLVFULPLQDWRU\DFWLRQVSHUSHWUDWHGDJDLQVWKHUE\)UDQNLH¶VLQFOXGLQJDVVHWIRUWKLQKHU)LUVW&ODLP

  IRU5HOLHIDERYH

     )UDQNLH¶VUHWDOLDWLRQDJDLQVW3ODLQWLIIZDVVHYHUHDQGSHUYDVLYH


                                                     
  
Case 1:16-cv-02936-CMA-NYW Document 4 Filed 12/01/16 USDC Colorado Page 7 of 8




  
  7KHDFWVDQGFRQGXFWRI'HIHQGDQW)UDQNLH¶VZHUHLQZLOOIXOZDQWRQDQGRUUHFNOHVV

  GLVUHJDUGRIWKHULJKWVRUVHQVLELOLWLHVRI0V5RDQHFDXVLQJKDUPGDPDJHDQGJUHDWVXIIHULQJE\

  KHU,QDGGLWLRQ0V5RDQHKDVVXIIHUHGORVWZDJHVORVWEHQHILWVDQGRWKHUSHUTXLVLWHVRI

  HPSOR\PHQWDQGGDPDJHWRKHUFDUHHUDQGIXWXUHDOODVVHWIRUWKLQRWKHUSDUDJUDSKVDQGSURYLVLRQV

  RIWKLV&RPSODLQW

     3ODLQWLIIVHHNVWRUHFRYHUFRPSHQVDWRU\GDPDJHVHFRQRPLFDQGQRQHFRQRPLFDQG

  H[HPSODU\OLTXLGDWHGGDPDJHVDOODVDUHODZIXOO\UHFRYHUDEOH3ODLQWLIIDOVRVHHNVWRUHFRYHUSDVW

  DQGIXWXUHSHFXQLDU\ORVVHVHPRWLRQDOSDLQVXIIHULQJLQFRQYHQLHQFHPHQWDODQJXLVKORVVRI

  HQMR\PHQWRIOLIHDQGRWKHUQRQSHFXQLDU\ORVVHVLQDGGLWLRQWRRWKHUUHFRYHUDEOHGDPDJHV

  LQFOXGLQJH[HPSODU\GDPDJHVDQGDVRXWOLQHGKHUHLQDERYH3ODLQWLIILVDOVRVHHNLQJDWWRUQH\¶V

  IHHVFRVWVH[SHUWZLWQHVV¶VIHHVDQGDOORWKHUFRPSHQVDWLRQDVLVODZIXOO\UHFRYHUDEOH

         :+(5()25(3ODLQWLIIUHVSHFWIXOO\UHTXHVWVWKDWWKH&RXUWHQWHUMXGJPHQWDJDLQVWDOORI

  WKH'HIHQGDQWVMRLQWO\DQGVHYHUDOO\SXUVXDQWWRDSSOLFDEOHVWDWXWHVLQFOXGLQJ&56

  DVIROORZV

         $     $ZDUG3ODLQWLIIDOOORVWZDJHVEHQHILWVDQGRWKHUSHUTXLVLWHVRIHPSOR\PHQWSDVW

                 SUHVHQWDQGIXWXUHDQGDSSURSULDWHHTXLWDEOHUHOLHILQFOXGLQJEXWQRWOLPLWHGWR

                 ORVWFRPSHQVDWLRQIURQWSD\RUUHLQVWDWHPHQWDQGRWKHUDSSURSULDWHHTXLWDEOH

                 UHOLHIDVDUHVXOWRIWKH'HIHQGDQW)UDQNLH¶VFRQGXFWDVRXWOLQHGKHUHLQDERYH

         %     $ZDUG3ODLQWLIIOLTXLGDWHGDQGRUSXQLWLYHGDPDJHVWRWKHJUHDWHVWH[WHQW

                 DZDUGDEOH

         &     $ZDUG3ODLQWLIIFRVWVLQWHUHVWDQGUHDVRQDEOHDWWRUQH\¶VIHHV
                                                     
  
Case 1:16-cv-02936-CMA-NYW Document 4 Filed 12/01/16 USDC Colorado Page 8 of 8




  
           '       $ZDUG3ODLQWLIISDVWDQGIXWXUHSHFXQLDU\ORVVIRUHPRWLRQDOSDLQDQGVXIIHULQJ

                     ZRUU\DQ[LHW\LQFRQYHQLHQFHPHQWDODQJXLVKORVVRIHQMR\PHQWRIOLIH

                     KXPLOLDWLRQGHJUDGDWLRQDQGRWKHUQRQSHFXQLDU\ORVVHVLQDGGLWLRQWRGDPDJHWR

                     KHUFDUHHUDQGIXWXUHDQGWRKHUUHSXWDWLRQSXQLWLYHGDPDJHVGDPDJHVIRU

                     SK\VLFDOLQMXULHVDORQJZLWKRWKHUGDPDJHV

           (       *UDQW3ODLQWLIIVXFKRWKHUDQGIXUWKHUUHOLHIDVWKLV&RXUWGHHPVMXVWDQGSURSHU

           3/$,17,))'(0$1'6$75,$/72$-85<21$//,668(66275,$%/(

  
  '$7('WKLVWKGD\RI1RYHPEHU
  
  $1'5(:7%5$.(3&
   Andrew T. Digitally signed by
                       Andrew T. Brake
                      Date: 2016.11.05
   Brake              10:56:58 -05'00'
  %\V$QGUHZ7%UDNH
  $QGUHZ7%UDNH5HJ1R
  $QGUHZ7%UDNH3&
  $WWRUQH\VIRU3ODLQWLII
  (DVW*LUDUG$YHQXH6XLWH
  (QJOHZRRG&RORUDGR
  7HOHSKRQH
  
  
  3/$,17,))¶6$''5(66
  &2$QGUHZ7%UDNH3&
  (*LUDUG$YH
  (QJOHZRRG&2




                                                                
  
